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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
MARION DOWNES, by her attorney-in-fact
MICHAEL DOWNES, on behalf of herself and
of all others similarly situated,
                                                             ORDER
                                 Plaintiff,
v.                                                           19-CV-11281 (PMH)

KEVIN M. MCGUIRE, in his official capacity
as Commissioner, Westchester County
Department of Social Services,

                                   Defendant.
---------------------------------------------------------X

PHILIP M. HALPERN, United States District Judge:

        The Court has been informed that the Parties have reached a settlement in principle in

this case. Accordingly, it hereby ORDERED that this action is dismissed without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within thirty (30) days of this Order. Any application to reopen filed

after thirty (30) days from the date of this Order may be denied solely on that basis. Any pending

motions are DISMISSED as moot, and all conferences are CANCELED.


Dated: New York, New York
       October 16, 2020


                                                    ____________________________
                                                    Philip M. Halpern
                                                    United States District Judge
